                 Case 8:20-cv-00048-JVS-JDE Document 1638-2 Filed 04/20/23 Page 1 of 11 Page ID
                                                  #:149328

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           16                       UNITED STATES DISTRICT COURT
           17             CENTRAL DISTRICT OF CALIFORNIA - SOUTHERN DIVISION

           18       MASIMO CORPORATION,                           CASE NO. 8:20-cv-00048-JVS (JDEx)
                    a Delaware corporation; and
           19       CERCACOR LABORATORIES, INC.,                  APPLE’S REPLY TO PLAINTIFFS’
                    a Delaware corporation,                       OPPOSITION TO APPLE’S
           20                                                     RENEWED DAUBERT CHALLENGE
                                       Plaintiffs,
           21
                          v.
           22
                    APPLE INC.,
           23       a California corporation,
           24                          Defendant.
           25
                         REDACTED VERSION OF DOCUMENT PROPOSED TO BE FILED UNDER SEAL
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                     APPLE’S REPLY TO PLAINTIFFS OPPOSITION TO APPLE’S RENEWED DAUBERT CHALLENGE
Wilmer Cutler
                                                                            CASE NO. 8:20-cv-00048-JVS (JDEX)
Pickering Hale
and Dorr LLP
                 Case 8:20-cv-00048-JVS-JDE Document 1638-2 Filed 04/20/23 Page 2 of 11 Page ID
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                     APPLE’S REPLY TO PLAINTIFFS OPPOSITION TO APPLE’S RENEWED DAUBERT CHALLENGE
Wilmer Cutler
                                                                            CASE NO. 8:20-cv-00048-JVS (JDEX)
Pickering Hale
and Dorr LLP
                 Case 8:20-cv-00048-JVS-JDE Document 1638-2 Filed 04/20/23 Page 3 of 11 Page ID
                                                  #:149330

             1                                          INTRODUCTION
             2             Plaintiffs ignore the basis for Apple’s motion. Apple is not arguing that Mr.
             3      Kinrich was required to testify about causation as it relates to liability—i.e., whether
             4      Plaintiffs have identified that Apple suffered any unjust enrichment at all. Rather,
             5      Apple challenges the reliability of Mr. Kinrich’s testimony because he failed to
             6      provide any basis for the amount of the unjust enrichment damages “flow[ing] from
             7      the trade secret violations.” See, e.g., 4/12/23 AM Tr. 7:22-8:4 (this Court discussing
             8      Plaintiffs’ initial burden (emphasis added)). It is undisputed that Mr. Kinrich failed (1)
             9      to mention the purported trade secrets even once on direct or (2) to offer
           10                                           . 4/13/23 AM Tr. 110:6-13 (emphasis added). That
           11       is fatal to Plaintiffs’ position.
           12              Because Mr. Kinrich’s testimony fails to comply with the legal standard and
           13       diverges from his report and deposition—which at least purported to connect his
           14       damages calculations to the purported misappropriation at a high level—Apple
           15       respectfully submits that his testimony should be struck as insufficiently reliable under
           16       Daubert.
           17              Moreover, even if this Court were to accept Plaintiffs’ argument that Mr.
           18       Kinrich can rely on other witnesses’ testimony to link the purported trade secrets to his
           19       damages figure, he failed to do even that. Furthermore, none of Plaintiffs’ witnesses
           20       have provided an evidentiary basis that could support Mr. Kinrich’s deficient
           21       methodology. While Plaintiffs devote half their brief to supposedly providing
           22       “evidence that Apple used Masimo’s trade secrets to develop and market the Blood-
           23       Oxygen and ECG features,” Opp. 8-16 (capitalization omitted), their summary of the
           24       evidence presented barely mentions Blood Oxygen and ECG and fails to identify
           25       record evidence linking those features to most of their purported secrets. This
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                     APPLE’S REPLY TO PLAINTIFFS’ OPPOSITION TO APPLE’S RENEWED DAUBERT CHALLENGE
Wilmer Cutler
                                                                 1          CASE NO. 8:20-cv-00048-JVS (JDEX)
Pickering Hale
and Dorr LLP
                 Case 8:20-cv-00048-JVS-JDE Document 1638-2 Filed 04/20/23 Page 4 of 11 Page ID
                                                  #:149331

             1      evidentiary hole renders Mr. Kinrich’s methodology unreliable. It should be struck. 1
             2                                              ARGUMENT
             3            I. MR. KINRICH’S METHODOLOGY FOR DETERMINING THE AMOUNT OF UNJUST
             4               ENRICHMENT IS UNRELIABLE BECAUSE HE DID NOT LINK HIS $3.1 BILLION
             5               CALCULATION TO THE PURPORTED TRADE SECRETS IN ANY WAY.
             6               As explained, Mr. Kinrich’s testimony diverged from his report and deposition
             7      because he did not explain—at even the highest level of generality—how the $3.1
             8      billion in value he assigned to the ECG and Blood Oxygen features was connected to
             9      Apple’s trade secret misappropriation. Mem. 4-6. Remarkably, Mr. Kinrich offered a
           10       damages opinion without even mentioning the purported trade secrets in his direct
           11       examination testimony.
           12                Recognizing that, Plaintiffs devote much of the first half of their brief to arguing
           13       that Mr. Kinrich was not required to testify about the question of causation as it relates
           14       to liability (i.e., whether Apple received any benefit at all from the purported
           15       misappropriation). Opp. 5-7; see also id. 1-4. This is a red herring. As Apple made
           16       clear in its opening brief, the question of whether “Apple’s alleged misappropriation
           17       caused [Apple] to be unjustly enriched … is distinct from Plaintiffs’ initial burden to
           18       identify the amount of the benefit flowing from the misappropriation.” Mem. 6 n.3.
           19       This distinction springs directly from Apple’s Daubert briefing, which challenged Mr.
           20       Kinrich’s analysis both due to the lack of a causation analysis and because Mr. Kinrich
           21       had failed to provide a sufficient explanation for how Watch used the purported
           22       secrets. Dkt. 1171 at 20.
           23                Plaintiffs do not acknowledge the important difference between causation and
           24       amount, which moots a number of their arguments including: (1) this Court already
           25
           26       1
                     Apple will (if necessary) address the various other flaws with Plaintiffs’ unjust
           27       enrichment case—including the failure to establish causation—in its forthcoming
                    FRCP 50(a) motion.
           28
                        APPLE’S REPLY TO PLAINTIFFS’ OPPOSITION TO APPLE’S RENEWED DAUBERT CHALLENGE
Wilmer Cutler
                                                                    2          CASE NO. 8:20-cv-00048-JVS (JDEX)
Pickering Hale
and Dorr LLP
                 Case 8:20-cv-00048-JVS-JDE Document 1638-2 Filed 04/20/23 Page 5 of 11 Page ID
                                                  #:149332

             1      held that Mr. Kinrich need not address causation and (2) Mr. Kinrich did not discuss
             2      causation in his report or his deposition. 2 Nothing in this Court’s Daubert ruling
             3      relieved Mr. Kinrich of his duty to explain that his damages calculation related to
             4      Apple’s misappropriation. And the deposition testimony that Plaintiffs rely upon
             5      proves Apple’s point that Mr. Kinrich previously represented that his opinion was
             6      based on his “understanding that,” for example, “Apple’s profits related to the blood
             7      oxygen measurement, SpO2 measurement is related to the trade secrets.” See Dkt.
             8      1116-6 at 236:16-237:17, cited in Opp. 3; see also Dkt. 1116-6 at 237:19-238:5 (“The
             9      amounts I have determined relate to the trade secrets in that I understand plaintiffs
           10       assert that without the trade secrets the pulse oximetry would not have been a
           11       successful component of the Apple Watch”). Mr. Kinrich’s failure to repeat even this
           12       high-level “understanding” to the jury left the impression that he—as an expert
           13       recognized by this Court—believed that Plaintiffs were entitled to the total profits of
           14       the ECG and Blood Oxygen features regardless of whether they have any link to the
           15       purported trade secrets.
           16                Plaintiffs’ attempts to distinguish this case from Rembrandt are similarly
           17       misguided. Plaintiffs first suggest that Rembrandt is distinguishable on procedural
           18       grounds—i.e., because the Rembrandt court issued its ruling after the close of evidence
           19       and ultimately granted the defendant judgment as a matter of law. Opp. 6. But
           20       nothing in Rembrandt bars a renewed Daubert motion from being filed while evidence
           21       is still open. Such a ruling would at least be appropriate here, where Mr. Kinrich has
           22       already testified. In any event, this argument is at best a reason to slightly delay a
           23       decision on Apple’s motion, not a reason to deny it.
           24
           25       2
                     Plaintiffs’ suggestion that Mr. Kinrich never “linked” Blood Oxygen and ECG to the
           26       alleged trade secrets, Opp. 6, ignores that he justified his approach based on his
                    understanding that these features “relate” to the alleged secrets. If Mr. Kinrich truly
           27       never linked these features to the secrets, as Plaintiffs now appear to contend, then Mr.
                    Kinrich never had any colorable basis to present his profit differential calculation.
           28
                        APPLE’S REPLY TO PLAINTIFFS’ OPPOSITION TO APPLE’S RENEWED DAUBERT CHALLENGE
Wilmer Cutler
                                                                    3          CASE NO. 8:20-cv-00048-JVS (JDEX)
Pickering Hale
and Dorr LLP
                 Case 8:20-cv-00048-JVS-JDE Document 1638-2 Filed 04/20/23 Page 6 of 11 Page ID
                                                  #:149333

             1            Plaintiffs also argue that Rembrandt involved more extreme facts than this case.
             2      Opp. 6-7. But Apple has never argued that Rembrandt is factually identical; Apple
             3      cited it for the legal proposition that a renewed Daubert motion is an available remedy.
             4      Regardless, Plaintiffs’ attempts to distinguish Rembrandt are overblown. In particular,
             5      while Mr. Kinrich’s presentation of his calculation valuing the Blood Oxygen and
             6      ECG features is consistent with his report, Mr. Kinrich’s failure to mention the
             7      purported secrets at all is not—that is at least analogous to the Rembrandt expert’s
             8      decision to raise a “new methodology … during his cross-examination” that differed
             9      from his original report. See, e.g., Rembrandt Vision Techs., L.P. v. Johnson &
           10       Johnson Vision Care, Inc., 282 F.R.D. 655, 658, 666 (M.D. Fla. 2012), aff’d, 725 F.3d
           11       1377 (Fed. Cir. 2013).
           12          II. PLAINTIFFS’ PROFFERED “EVIDENCE” DOES NOT FILL THE HOLE IN MR.
           13             KINRICH’S TESTIMONY.
           14             As explained, Plaintiffs should not be permitted, ex post facto, to rely on the
           15       testimony of other witnesses to save Mr. Kinrich’s analysis because Mr. Kinrich
           16       himself failed to do so in front of the jury. Mem. 7. But even if this Court concluded
           17       this approach is permissible, Plaintiffs’ witnesses have failed to present evidence
           18       linking the value of all the purported trade secrets to the Blood Oxygen and/or ECG
           19       features. Mem. 7-8. And without evidence showing a link between each trade secret
           20       and at least one of the features, Mr. Kinrich’s methodology is unreliable, and his
           21       damages calculation cannot stand. Mem. 8. Plaintiffs’ arguments to the contrary are
           22       unavailing.
           23             First, Plaintiffs contend that there is sufficient evidence in the record to render
           24       reliable Mr. Kinrich’s unjust enrichment analysis so long as they have shown that
           25       Apple used at least one purported trade secret. Mem. 8. Not so. Mr. Kinrich’s report
           26       indicated that use of any of the business strategy trade secrets justifies an award of
           27       $3.1 billion and the use of any of the purported technical trade secrets justifies an
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                     APPLE’S REPLY TO PLAINTIFFS’ OPPOSITION TO APPLE’S RENEWED DAUBERT CHALLENGE
Wilmer Cutler
                                                                 4          CASE NO. 8:20-cv-00048-JVS (JDEX)
Pickering Hale
and Dorr LLP
                 Case 8:20-cv-00048-JVS-JDE Document 1638-2 Filed 04/20/23 Page 7 of 11 Page ID
                                                  #:149334

             1      award of $1.8 billion. See Dkt. 1171-3 ¶ 164. Plaintiffs must accordingly present
             2      evidence that each purported trade secret is linked to the Blood Oxygen and/or ECG
             3      features. Otherwise, the jury could award damages on a purported trade secret that
             4      Plaintiffs have not even attempted to tie to supposed misappropriation in any way.
             5               Second, Plaintiffs purport to provide eight pages of “evidence” that Apple used
             6      Plaintiffs’ purported secrets in the Blood Oxygen and ECG features. Opp. 9-16. But
             7      the cited testimony and exhibits barely mention those features, much less explain how
             8      those features use Plaintiffs’ purported trade secrets. Specifically:
             9                                   : For L4, the only evidence Plaintiffs point to with respect to
           10       Apple Watch Series 6 and 7 is Dr. Madisetti’s testimony that (1)
           11
           12
           13
           14                                             Opp. 10. Nowhere does Dr. Madisetti state that L4
           15       is used in any way by the Blood Oxygen feature itself.3
           16                Plaintiffs’ evidence for L5 is—if possible—even weaker. Plaintiffs identify
           17       only a single statement from Dr. Madisetti claiming that Apple identified L5 as a
           18                              . Opp. 11. Even taking this statement at face value (and Plaintiffs
           19       do not even provide a record citation to support it), it shows only that Apple viewed
           20       the feature alleged to relate to L5 as valuable for Apple Watch as a whole—not to the
           21       Blood Oxygen feature in particular.4
           22
           23       3
                        Plaintiffs also cite to a slide produced by Apple that appears to relate to
           24                         JTX-1078 at -632. They do not explain how a reasonable jury would
                                    his slide to serve as a link between L5 and Blood Oxygen.
           25       4
                        Plaintiffs appear to be referencing Dr. Madisetti’s testimony
           26
           27       4/12/23 PM Tr. 25-26. Plaintiffs do not explain how this
                    is connected to Blood Oxygen in any way.
           28
                        APPLE’S REPLY TO PLAINTIFFS’ OPPOSITION TO APPLE’S RENEWED DAUBERT CHALLENGE
Wilmer Cutler
                                                                    5          CASE NO. 8:20-cv-00048-JVS (JDEX)
Pickering Hale
and Dorr LLP
                 Case 8:20-cv-00048-JVS-JDE Document 1638-2 Filed 04/20/23 Page 8 of 11 Page ID
                                                  #:149335

             1                                : Plaintiffs do not identify any testimony that links D1, D3, or
             2      D10 to the Blood Oxygen feature. Indeed, Dr. Madisetti admitted that
             3                                                                        4/12/23 PM Tr. 98:25-
             4      99:2. Instead, Plaintiffs merely cite two exhibits that they claim establish that
             5      “
             6                                                                                          .” Opp.
             7      12. But both these exhibits predated Apple’s development of the Blood Oxygen
             8      feature, and Plaintiffs have offered no evidence—nor is there any—showing Apple
             9                                        in the Blood Oxygen feature. Compare JTX-153, 273
           10       (                     ) with 4/18/23 PM Tr. 70-71 (
           11                                          ).
           12                Moreover, even if Plaintiffs had provided testimony or other evidence regarding
           13       D10’s connection to Blood Oxygen, it could not support Mr. Kinrich’s damages
           14       calculation. Mr. Kinrich’s calculation relies exclusively on the profits from Apple
           15       Watch Series 6 and 7, the earliest of which was not released until September 2020.
           16       4/18/23 AM Tr. 121:19-21. But Plaintiffs’ CEO admitted earlier in this trial that D10
           17       lost its status as a trade secret when U.S. Patent No. 10,219,754 issued in March 2019.
           18       Mem. 7 n.4. Plaintiffs’ attempt (Opp. 12 n.1) to withdraw this strategic concession—
           19       which was elicited by Plaintiffs’ counsel on re-direct examination—two weeks after it
           20       was made in front of the jury should be rejected.
           21                Business Strategies and VIA 5: With regards to the ECG feature, Plaintiffs do
           22       not identify a single line of testimony from Dr. Palmatier or any other witness that
           23       explains how the version of the feature that appears in Apple Watch Series 6 and 7 is
           24       attributable to any of the Business Strategies trade secrets. See Opp. 14. Instead, as
           25       Plaintiffs acknowledge, Dr. Palmatier’s testimony discussed only B1 and addressed its
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                      Plaintiffs do not identify any testimony or record evidence linking VIA’s reference to
                    the technical trade secrets to the Blood Oxygen and ECG features.
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                        APPLE’S REPLY TO PLAINTIFFS’ OPPOSITION TO APPLE’S RENEWED DAUBERT CHALLENGE
Wilmer Cutler
                                                                    6          CASE NO. 8:20-cv-00048-JVS (JDEX)
Pickering Hale
and Dorr LLP
                 Case 8:20-cv-00048-JVS-JDE Document 1638-2 Filed 04/20/23 Page 9 of 11 Page ID
                                                  #:149336

             1      use in the ECG feature on Apple Watch Series 4—a product that Mr. Kinrich did not
             2      even consider in calculating unjust enrichment. Id. While Plaintiffs point to two
             3      exhibits that they claim indicates that a version of the ECG feature appears on later
             4      versions of Watch, Dr. Palmatier did not testify that the version used on Series 4 and
             5      the version used on Series 6 and 7 are the same.
             6            More broadly, Plaintiffs assert that the fact that Dr. Palmatier testified about the
             7      use of B1 marketing in the Blood Oxygen and ECG features means
             8                                                                   . They identify no
             9      testimony or record evidence where this point has been made to the jury. And in any
           10       event, this logic does not follow at least for B7 and VIA,
           11
           12                                      VIA claims the value, importance, and appropriateness
           13       of B1, B2, and B4. Plaintiffs identify no record evidence (and no clear explanation)
           14       for how the Blood Oxygen and ECG features incorporate such nebulous concepts.
           15                                           CONCLUSION
           16             Apple respectfully requests this Court to (1) strike Mr. Kinrich’s testimony as
           17       unreliable under Daubert and (2) instruct the jury that, if they conclude Apple is liable
           18       for misappropriation, this Court will determine any remedy.
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                     APPLE’S REPLY TO PLAINTIFFS’ OPPOSITION TO APPLE’S RENEWED DAUBERT CHALLENGE
Wilmer Cutler
                                                                 7          CASE NO. 8:20-cv-00048-JVS (JDEX)
Pickering Hale
and Dorr LLP
             Case 8:20-cv-00048-JVS-JDE Document 1638-2 Filed 04/20/23 Page 10 of 11 Page ID
                                               #:149337

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                 APPLE’S REPLY TO PLAINTIFFS’ OPPOSITION TO APPLE’S RENEWED DAUBERT CHALLENGE
Wilmer Cutler
                                                             8          CASE NO. 8:20-cv-00048-JVS (JDEX)
Pickering Hale
and Dorr LLP
             Case 8:20-cv-00048-JVS-JDE Document 1638-2 Filed 04/20/23 Page 11 of 11 Page ID
                                               #:149338

             1                           CERTIFICATE OF COMPLIANCE
             2         The undersigned, counsel of record for Defendant Apple Inc. certifies that this
             3   brief contains 2211 words, which [choose one]:
             4         X complies with the word limit of L.R. 11-6.1
             5            complies with the word limit set by court order dated [date].
             6
             7   Dated: April 20, 2023                 Respectfully submitted,

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                 APPLE’S REPLY TO PLAINTIFFS’ OPPOSITION TO APPLE’S RENEWED DAUBERT CHALLENGE
Wilmer Cutler
                                                             9          CASE NO. 8:20-cv-00048-JVS (JDEX)
Pickering Hale
and Dorr LLP
